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                           THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    VICTORIA DIVISION

    In Re:                                           §                   Case No. 21-60052-CML
    SCOTT VINCENT VAN DYKE                           §

            Debtor(s)                                §                           Chapter 7

                        BUILDERS WEST, INC.’S JOINDER IN CHAPTER 7
                        TRUSTEE’S SECOND MOTION FOR EXTENSION OF
                              TIME TO OBJECT TO DISCHARGE
                                    [Relates to Doc. No. 190]

            This motion seeks an order that may adversely affect you. If you oppose the
            motion, you should immediately contact the moving party to resolve the dispute. If
            you and the moving party cannot agree, you must file a response and send a copy
            to the moving party. You must file and serve your response within 21 days of the
            date this was served on you. Your response must state why the motion should not
            be granted. If you do not file a timely response, the relief may be granted without
            further notice to you. If you oppose the motion and have not reached an
            agreement, you must attend the hearing. Unless the parties agree otherwise, the
            court may consider evidence at the hearing and may decide the motion at the
            hearing.

            Represented parties should act through their attorney.

       COMES NOW Builders West, Inc. (“Builders West”), a creditor in the above-referenced bankruptcy

case (the “Case”), files this Joinder in the Chapter 7 Trustee’s Second Motion for Extension of Time to

Object to Discharge (hereinafter, the “Joinder”), and in support respectfully represents:

       1.      Pursuant to Federal Rule of Bankruptcy Procedure 4004(b)(1), “[o]n motion of any party

in interest, after notice and hearing, the court may for cause extend the time to object to discharge the

motion shall be filed before the time [to object] has expired.” FED. R. BANKR. P. 4004(b)(1). In a chapter

7 case, a complaint or motion to object to discharge must be filed no later than sixty (60) days after the

first date set for the 341 Meeting. FED. R. BANKR. P. 4004(a).

       2.      In this Case, the deadline to object to discharge has been set for July 1, 2022. Pursuant to


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Trustee’s Second Motion for Extension of Time to Object to Discharge (“Motion”) [Doc. No. 190], the

Trustee now requests a second extension of time to object to discharge to be extended to August 5, 2022.

This Motion is timely as it is filed before the time to object to discharge has expired.

        3.      Builders West also respectfully requests that the Court enter the proposed order attached

to this Joinder, so that the time fixed for filing an objection to the Debtor’s discharge may be made

pursuant to 11 U.S.C. § 727 and/or § 523, and R. Bankr. P. 4004 for the Trustee, United States Trustee,

and all creditors.

        WHEREFORE, Builders West, Inc. prays that the Court: (i) enter the proposed order attached

hereto; (ii) extend the deadline to object to the Debtor’s discharge to August 5, 2022, pursuant to 11 U.S.C.

§ 727 and § 523, and R. Bankr. P. 4004, for the Trustee, United States Trustee, and all creditors; and (iii)

for any other relief Builders West is entitled to in law or equity.



    Date: July 1, 2022                                         Respectfully submitted,

                                                               BAIR HILTY, P.C.


                                                               /s/ Dale R. Mellencamp
                                                               DALE R. MELLENCAMP
                                                               State Bar No. 13920250
                                                               Federal Bar No. 7718
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                                                               Houston, Texas 77068
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                                                               Facsimile: (713)868-9444

                                                               ATTORNEY FOR BUILDERS WEST, INC.




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                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing has been served on all
necessary parties in accordance with FRBP 2002 on this date the July 1, 2022, via CM/ECF to all
parties authorized to receive electronic notice in this case.




                                                    /s/ Dale R. Mellencamp
                                                    Dale R. Mellencamp




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AmeriCredit/GM                      Bank of America                     Big Tex Storage
Financial Attn:                     4909 Savarese Circle FL1-908-01-    3480 Ella
Bankruptcy                          50 Tampa, FL 33634-2413             Houston, TX 77018-6136
PO Box 183853
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Tran Singh, LLP                     8905 Friendship                     Bank Operations
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Houston, TX 77004-1028                                                  2100 3rd Ave N
                                                                        Birmingham, AL 35203


Catherine Stone Curtis              Central Portfolio Control           Citibank
Pulman, Cappuccio & Pullen,         Attn: Bankruptcy                    Citicorp Credit Srvs/Centralized Bk dept
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P.O. Box 720788                     200                                 St Louis, MO 63179-0034
McAllen, TX 78504-                  Minnetonka, MN 55343-9111
0788



City of Houston Public Works        ECHELON ANALYTICS                   Encore Bank
Attn: Effie Green                   ATTN MALINDA PISCIOTTA              Nine Greenway Plaza
4200 Leeland                        1717 MAIN STREET STE 3380           Houston, TX 77046-0905
Houston, TX 77023-3016              DALLAS TX 75201-7364



Forest Home Plantation, LLC         Harris County et al.                Henke, Williams & Boll, LLP
c/o Leann O. Moses                  c/o John P. Dillman                 2929 Allen Pkwy Ste 3900
1100 Poydras Street Ste 3100        Linebarger Goggan Blair & Sampson   Houston, TX 77019-7125
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1102                                Houston, TX 77253-3064



Johns & Hebert PLLC                 JPMORGAN CHASE BANK N A             JPMorgan Chase Bank, N.A.
f/k/a Johns & Counsel PL            BANKRUPTCY MAIL INTAKE              s/b/m/t Chase Bank USA,
2028 East Ben White Blvd Ste        TEAM                                N.A.
240 Austin, TX 78741-6931           700 KANSAS LANE FLOOR 01            c/o Robertson, Anschutz & Schneid,
                                    MONROE LA 71203-4774                P.L. 6409 Congress Avenue Ste 100
                                                                        Boca Raton, FL 33487-2853

                                                                        PHOENIX FINANCIAL SERVICES
Libertas Funding LLC                Michael L. Noel                     LLC
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2                                   Houston, TX 77024-4247              INDIANAPOLIS IN 46236-1450
Greenwich, CT 06830-6501



PNC BANK RETAIL LENDING             Reese Baker &                       Scott Vincent Van Dyke
PO BOX 94982                        Assoc.                              1515 South Boulevard
CLEVELAND OH 44101-4982             950 Echo Lane Ste 300               Houston, TX 77006-6335
                                    Houston, TX 77024-2824
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Susan Tran Adams                     TMX FINANCE LLC                US Trustee
Tran Singh LLP                       FORMERLY TITLEMAX              Office of the US Trustee
2502 La Branch Street                15 BULL STREET STE 200         515 Rusk Ave Ste 3516
Houston, TX 77004-1028               SAVANNAH GA 314012686          Houston, TX 77002-2604



Wells Fargo Bank N.A., d/b/a Wells   Wells Fargo Dealer Services
Fargo Auto                           Attn: Bankruptcy
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